                   Case 01-01139-AMC                   Doc 18318-1          Filed 03/18/08         Page 1 of 6



                                  IN THE UNITED STATES BANKRUPTCY COURT

                                            FOR THE DISTRICT OF DELAWARE

In re:                                                         )        Chapter 11

                                            1
                                                               )
W. R. GRACE & CO., et aI.,                                     )        Case No. 01-1139 (JKF)
                                                               )        Jointly Administered
                                    Debtors.                   )


                                                 AFFIDAVIT OF SERVICE

STATE OF DELAWARE )
                                                      )SS
COUNTY OF NEW CASTLE )


                        Linda M. Ells, being duly sworn according to law, deposes and says that she is

employed by the law firm of                 Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors, in

the above-captioned action, and that on the 18th day of March 2008 she caused a copy of the

following document(s) to be served upon the attached service list(s) in the maner indicated:




i The Debtors consist of
                                the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puero Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Drillng Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Servces Corporation, Grace Interational Holdings, Inc. (f/a Dearborn Interational Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco Interational, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Interedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/a Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




91100-001\DOCS DE:119174.56
               Case 01-01139-AMC   Doc 18318-1   Filed 03/18/08     Page 2 of 6



                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARNG ON
                   MACH 25, 2008, AT 8:30 A.M. BEFORE THE HONORALE JUITH K.
                   FITZGERAD IN PITTSBURGH, PENNSYL VANIA.

Dated: March I K, 2008
                                               ~~sÆ. Gel
                                                    MARY E. CORCORAN
            blic   ii I A/l.
           mission Expires: -i
                                                      NOTARY PUBLIC
                                                    STATE OF DELAWARE
                                                 My commissIon expires Nov. 4, 20




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                                         -2-
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          Case 01-01139-AMC        Doc 18318-1       Filed 03/18/08                    Page 3 of 6



W.R. Grace - PI Estimation Email Service         Electronic Delivery
List Case Number: 01-1139                        ndf(¡:apdale. com; wbs(i¡:apdale. com;
(JKF) Document Number: 133415                    ipw(âctlpdale. com bsb(i¡:apdale.com;
13 - Electronic Delivery                         dbs(i,eapdale.com mhurford(i¡:amlev.com
                                                 (ACC) Nathan Finch, Esquire Walter
                                                 Slocombe, Esquire James Wehner, Esquire
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           Case 01-01139-AMC        Doc 18318-1   Filed 03/18/08   Page 4 of 6



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            Case 01-01139-AMC         Doc 18318-1    Filed 03/18/08     Page 5 of 6



W.R. Grace - PI Estimation Overnight                Hand Delivery
Service List                                        (United States Trustee)
Case Number: 01-1139(JKF)                           David Klauder, Esquire
Document Number: 133422                             Office of the United States Trustee
05 - Hand Delivery                                  844 King Street, Room 2311
08 - Overnight Delivery                             Wilmington, DE 19801

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91100-001\DOCS_DE:133422.l
                Case 01-01139-AMC          Doc 18318-1    Filed 03/18/08      Page 6 of 6



Overnight Delivery                                       Overnight Delivery
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